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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 SOUTHERN DIVISION
                                       LONDON

 UNIETD STATES OF AMERICA,                     )
                                               )
       Plaintiff,                              )
                                               )         No. 6:22-CR-49-REW-HAI-4
 v.                                            )
                                               )                    ORDER
 JENNIFER D. ROSE,                             )
                                               )
       Defendant.                              )

                                        *** *** *** ***
       After conducting Rule 11 proceedings, see DE 115 (Minute Entry), Judge Ingram

recommended that the undersigned accept Defendant Jennifer D. Rose’s guilty plea and adjudge

her guilty of Count One of the Indictment. See DE 116 at 2 (Recommendation); see also DE 1

(Indictment). Judge Ingram expressly informed Rose of her right to object to the recommendation

and to secure de novo review from the undersigned. See DE 116 at 2-3. The established three-

day objection deadline has passed, and no party has objected.

       The Court is not required to “review . . . a magistrate[ judge]’s factual or legal conclusions,

under a de novo or any other standard, when neither party objects to those findings.” Thomas v.

Arn, 106 S. Ct. 466, 472 (1985); see also Berkshire v. Dahl, 928 F.3d 520, 530 (6th Cir. 2019)

(quoting Kensu v. Haigh, 87 F.3d 172, 176 (6th Cir. 1996)) (alterations adopted) (noting that the

Sixth Circuit has “long held that, when a defendant does ‘not raise an argument in his objections

to the magistrate judge’s report and recommendation he has forfeited his right to raise this issue

on appeal.’”); United States v. Olano, 113 S. Ct. 1770, 1777 (1993) (distinguishing waiver and

forfeiture); FED. R. CRIM. P. 59(b)(2)-(3) (limiting de novo review duty to “any objection” filed);




                                                   1
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28 U.S.C. § 636(b)(1) (limiting de novo review duty to “those portions” of the recommendation

“to which objection is made”).

        The Court thus, with no objection from any party and on full review of the record,

ORDERS as follows:

        1. The Court ADOPTS DE 116, ACCEPTS Defendant’s guilty plea, and ADJUDGES

            Defendant guilty of Count One of the Indictment.

        2. The Court will issue a separate sentencing order. 1

        This the 26th day of June, 2023.




1
 Judge Ingram remanded Rose to custody post-plea. See DE 115. This was also her status entering the hearing. See
DE 30. As such, Rose will remain in custody pending sentencing, subject to intervening orders.

                                                       2
